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ses ieesesr 1200 N.W. $7 Avenue, Miami Florida 33126

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ies Tel: (305) 264-4433 » Fax: (305) 264-8936 « www.motoportusa.com
( parep3a/09/2017 PURCHASERS NAME Adame, Beverly R. ADAMS-BURSTEIN, ROSELI MO
SALESMAISTEVE SOSA STREET AODRESSL0521 SW 45 Streer
OU Miami STATE fr, ZIP CODE 331¢5
: BUS. TE HOME TEL,
Vue D.O. Lic N 0.0.8.
DESCRIPTION:
| ean 2017 Make YAMAHA a MODELEXLOSOR-SA
lONUMBIS-VAMALSGRL6L7 SSS __COLARLACK/WHITE
yeas 2017 MAKE YAMAHA MODELEX1 0508-4
| ‘omumeeWS-VAMA2Q26A7197 ~~~ 77 “amenceO SS COLORBLACK/WHITE
YEAS MAKE MODEL
i es a  aeage T eon
\_ VEHICLE OISCLOSURE: VEHICLE IS REPRESENTEDTO aE XIRJNEW CloemMo CITRAILER Ousep []soupasis == Clover /
PRICE OF UNIT. $25,198,009 TRADE-IN INFORMATION —_
ace yaoesice ye soloo | nee
DESTINATION CHARGE $174 | oo YEAR MODEL
ASSEMBLY + PD. $194 100 1.0. NUMBER
earren Pe Maven _Safoo [mee
GAP 51,2390 !00
TCTAL INCLUDING ACCESORIES $16,959.00
LESS ALLOWANCE GA TRADE IN 50 ! oo
CASH DIFFERENCE $16,959.00
ELECTRONIG TEMPORARY TaG FILING FEE $ 1 8100
ADMINISTRATIVE SGAVICES & WAREHOUSE FEES $ 381100
SUB TOTAL $27,358 J00
STATE SALES TAX S1,0%8 og
COUNTY SALES TAX solaa
NEW LICENSE & REGISTRATION FEE $130 100
JPOOROOGIER eT, Doc sTAMpS $0 100
USED VEHICLE Bal ance $0 igo
CASH BALANCE DUE $19,536 108
INITIAL PARTIAL PAYMENT 6 0 lo oO
ADDITIONAL PARTIAL PayMeNT $0 00
CASH DOWN J $0100
UpAF(_TOTALS18 536.08
I ! , hereby warrant, that the above identified vehicle sold to

Matoport USA has not sustained any frame damage whatsoever. (Trade in)

The only wartaatigs applying to this vehicle(s) are those which may de offerad by the manufacturer. The gelling dealar heleby expressly disclaims all
Warranties, ether expressed or implied, including any Implied warrantias of merchantability of fitness for a particular purpose, and neither assumes nor
authorizes any other parsons to assume tor it any liability In connection with the saie of this vehicle and/or parts and/or service. Buyer shall not be
entilled ta recover from the selling dealer any consequential damages, damages to Proparty, darnages far logs of use, loss of tima, loss of profits, or
Income, OF any other incidental damages. On all salas, “sales notes" above, apply. The Purchaser hereby acknowledges that Seller has made available
“Warranty Pre-Sate information" as disclosed in the Warranty Binders pursuant to the Magnuson-Moss Warranty Act.

 

 

 

 

 

wz, 03/09/2017 (1) -
DAIES Sa PURCHASER'S SIGNATURE /

 

READ CONDITIONS ON REVERSE SIDE A-FOR OFF OAD
TRANSFEROR IS RESPONSIBLE FOR MILEAGE RECORDED ON THIS FORM |

 

 

hereby understand that this Is an off-the-road vehicle,
00 NOT SIGN THIS FORM IN BLANK and that it will not be used on public roads and

THAVE READ THE MATTER PRINTED ON THE SACIC HEREOF AND AGRE TOIT as highways of the State of Florida.

A PART OF THIS ORDER THE SAME AS IF IT WERE PRINTED ABOVE MY SIGNATURE

 

 

 

 

‘ q I,
(2) Vee Wi FZ> fully understand that a Current motorcycle drivers
7

PURCHASER'S SlanaTURE/ (7 © Wi" license is required by law from anyone riding a street
legal motorcycle, An auto:
acceptable,

| have been made aware of Motorcycle Safety
Foundation and their fole i rcycle safety, their
“Ridecourse" and théi iy Www.msf-usa.org.

Accepted by:

MANAGER Lz i

‘Ths order is not vaild unless signed & accoulad hy authictized officer or sales manager of Moloporl USA.

   

river's license is not

  
      
  

 

 

 

 

 

 

03/21/2017 11:06AM (GMT-04:00)
